
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1460

                         COASTAL FUELS OF PUERTO RICO, INC.,

                                Plaintiff - Appellee,

                                          v.

                           CARIBBEAN PETROLEUM CORPORATION,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                  [Hon. Juan M. P rez-Gim nez, U.S. District Judge]
                                               ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                                Watson,* Senior Judge,
                                         ____________

                              and Lynch, Circuit Judge.
                                         _____________


                                _____________________

               William L.  Patton, with  whom Thomas B.  Smith, Kenneth  A.
               __________________             ________________  ___________
          Galton, Ropes  &amp; Gray, Rub n  T. Nigaglioni and Ledesma,  Palou &amp;
          ______  _____________  ____________________     _________________
          Miranda were on brief for appellant.
          _______
               Michael S. Yauch, with whom  Neil O. Bowman, Roberto  Boneta
               ________________             ______________  _______________
          and Mu oz  Boneta Gonz lez Arbona  Ben tez &amp; Peral were  on brief
              ______________________________________________
          for appellee.


                                 ____________________

                                    March 12, 1996
                                 ____________________
                              
          ____________________

          *  Of the United States Court of International Trade.














                    TORRUELLA, Chief Judge.  This appeal involves claims of
                    TORRUELLA, Chief Judge.
                               ___________

          price discrimination, 15 U.S.C.   13(a) (1994); 10 L.P.R.A.   263

          (1976), monopolization, 15  U.S.C.   2 (1994); 10  L.P.R.A.   260

          (1976),  and Puerto  Rico law  tort, 31  L.P.R.A.    5141 (1976),

          brought  against appellant Caribbean  Petroleum Corp. by appellee

          Coastal  Fuels of  Puerto Rico,  Inc.   After  a jury  trial, the

          district court entered judgment for $5,000,000 -- $1.5 million in

          antitrust damages trebled plus $500,000  in tort damages.  CAPECO

          seeks that  the judgment  of the district  court be  reversed and

          judgment be  granted to CAPECO  on all counts,  or alternatively,

          that the  judgment be reversed  and the case  remanded for  a new

          trial.   We affirm the  price discrimination and Puerto  Rico law

          tort verdicts, as  well as the tort damage verdict.   However, we

          reverse  the monopolization verdict, vacate the antitrust damages

          verdict,  and accordingly remand for further proceedings on price

          discrimination damages.

                                      BACKGROUND
                                      BACKGROUND
                                      __________

                    We  relate the evidentiary background in the light most

          favorable  to the  jury verdicts.   See  Kerr-Selgas v.  American
                                              ___  ___________     ________

          Airlines, Inc., 69 F.3d 1205, 1206 (1st Cir. 1995).
          ______________

                    Coastal  Fuels  of Puerto  Rico,  Inc. ("Coastal")  was

          formed in  1989  as a  wholly-owned subsidiary  of Coastal  Fuels

          Marketing,   Inc.  ("CFMI"),  a  company  that  ran  marine  fuel

          operations in  numerous ports  using a staff  of sales  agents in

          Miami,  Florida.  Caribbean  Petroleum Corp. ("CAPECO")  owns and

          operates a  refinery in  Bayam n, Puerto  Rico, which  produces a


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          number of fuel products, as  well as residual fuel.   A principal

          use of residual fuel is in the production of "bunker fuel," which

          is  used by cruise ships  and other ocean-going vessels outfitted

          with internal combustion or steam engines.

                    At trial,  Coastal  introduced  testimony  and  letters

          showing that CAPECO  had committed to supply Coastal  on the same

          terms and conditions as other resellers in San Juan, Puerto Rico,

          in 1990, but Coastal deferred the start of its operations because

          of uncertainty  due to the  Gulf War.  Eventually,  Coastal began

          business operations in Puerto Rico in October 1991, buying bunker

          fuel in San Juan and reselling it to ocean-going  liners at berth

          in San Juan  Harbor.  Based on CFMI's  experience and reputation,

          Coastal produced a business plan  which shows that it expected to

          reach a  sales volume of  100,000 barrels a  month, approximately

          25-30% of the  sales volume in  San Juan Harbor.   The plan  also

          shows that  Coastal  assumed it  could  obtain an  average  gross

          margin (sales revenues less product costs) of $1.65 a barrel.

                    In  September  1991, CAPECO  agreed  to  charge Coastal

          prices  based on a formula involving the previous Thursday/Friday

          New York market postings, minus discounts that varied  by volume.

          These prices were to cover the six month period from October 1991

          to   March  1992.     Unknown  to  Coastal,   CAPECO  was  almost

          simultaneously  offering Coastal's  two competitors  in San  Juan

          Harbor, Caribbean Fuel Oil Trading, Inc. ("Caribbean") and Harbor

          Fuel Services, Inc. ("Harbor"), new contracts that gave Caribbean




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          and Harbor bigger  discounts from the formula  price than Coastal

          received.1   Trial  evidence introduced  by  CAPECO's own  expert

          witness quantified  the total  price discrimination  in favor  of

          Caribbean and Harbor as $682,451.78  for the period from  October

          1991 to April 1992.

                    Coastal filed this suit in  May of 1992 when it learned

          of CAPECO's price discrimination against it.  This court affirmed

          the district court's denial of a preliminary injunction requiring

          that CAPECO end  its price discrimination.  See  Coastal Fuels of
                                                      ___  ________________

          Puerto Rico, Inc.  v. Caribbean Petroleum Corp., 990  F.2d 25, 26
          _________________     _________________________

          (1st Cir. 1993).  After Coastal filed suit, CAPECO proposed a new

          price  formula  to   Coastal.    According  to   trial  testimony

          introduced by Coastal, CAPECO basically  made a "take it or leave

          it" offer,  which Coastal took.  Expert testimony Coastal offered

          at   trial   contended  that   competitively   significant  price

          discrimination  continued until Spring  of 1993, when  CAPECO cut

          Coastal off entirely.

                    Additionally,  Coastal presented  evidence that,  while

          throughout  this period  CAPECO would  from time  to time  inform

          Coastal  that it  had  no  fuel available,  in  fact, CAPECO  had

          available  fuel.   Coastal also  presented evidence  that  it was
                              
          ____________________

          1  CAPECO  tried to argue below  and again argues here,  that the
          contracts   it   executed   with  Caribbean   and   Harbor   were
          qualitatively different  in their non-price  terms and conditions
          from CAPECO's arrangement with Coastal, justifying the discounts.
          Coastal  responds  that  it  was  never  offered  the  terms  and
          conditions that Caribbean  and Harbor received.  In  light of the
          jury's verdict  for Coastal  on the  price discrimination  claim,
          from conflicting evidence such as  this, we draw the (reasonable)
          conclusion in Coastal's favor.

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          discriminated against  in terms  of the quality  of fuel  that it

          received  from  CAPECO.    Finally,  on  March  31, 1993,  CAPECO

          informed  Coastal in  writing that  it  would not  sell any  more

          product to Coastal, and shortly  thereafter, Coastal went out  of

          business.

                    The case was tried to a jury on claims (1) that  CAPECO

          discriminated  in  price in  violation  of  Section  2(a) of  the

          Clayton Act, 38 Stat. 730 (1914) (current version  at 15 U.S.C.  

          13(a)), as  amended by  the  Robinson-Patman Act,  49 Stat.  1526

          (1936), and  in violation of  Section 263(a)  of Title 10  of the

          Laws  of  Puerto  Rico;  (2)  that  CAPECO  monopolized trade  or

          commerce in violation of Section 2 of the Sherman Act and Section

          260 of  Title 10  of the  Laws of  Puerto Rico;  (3) that  CAPECO

          violated Section  5141 of Title 31 of  the Puerto Rico Civil Code

          by engaging in  tortious conduct  that injured  Coastal; and  (4)

          that  CAPECO  committed a  breach  of  contract  in violation  of

          Sections 3371 et  seq. of Title 31 of the Puerto Rico Civil Code.
                        __  ____

          As   reflected   in   the   jury's   answers   to   the   Special

          Interrogatories, the jury found for Coastal on the first three of

          these  claims, but  found for  CAPECO on  the breach  of contract

          claim.  The jury awarded  damages of $1,500,000 for the antitrust

          violations  combined  and  $500,000  for  the  Puerto  Rico  tort

          violation.   The  antitrust damages  were trebled, see  15 U.S.C.
                                                             ___

            15(a), bringing the total award to $5,000,000.

                                      DISCUSSION
                                      DISCUSSION
                                      __________




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                    CAPECO  argues for a  reversal of the  district court's

          judgment,  or alternatively,  for a  new trial.   We  address the

          arguments for reversal first.
















































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                              I.  Arguments for Reversal
                              I.  Arguments for Reversal

                    The first set  of issues involves the  district court's

          denial of CAPECO's motions for judgment as a matter of  law under

          Fed. R. Civ. P. 50.   With respect to matters of  law, our review

          is de novo.  Sandy River Nursing Care v. Aetna Casualty, 985 F.2d
             __ ____   ________________________    ______________

          1138, 1141 (1st Cir. 1993).

                    Seeking  judgment as a matter of law, CAPECO has raised

          a set of issues on appeal that concern the application of federal

          and Puerto Rico law on price discrimination and monopoly, as well

          as Puerto Rico tort law, to the facts of this case.  With respect

          to these  issues, we review  the court's decision de  novo, using
                                                            __  ____

          the  same  stringent  decisional  standards  that controlled  the

          district  court.  See  Sullivan v.  National Football  League, 34
                            ___  ________     _________________________

          F.3d 1091, 1096 (1st Cir. 1994); Gallagher v. Wilton Enterprises,
                                           _________    ___________________

          Inc.,  962 F.2d 120, 125 (1st Cir. 1992).  Under these standards,
          ____

          judgment for CAPECO  can only be ordered if  the evidence, viewed

          in the  light most favorable  to Coastal, points so  strongly and

          overwhelmingly in  favor of CAPECO, that a  reasonable jury could

          not have arrived at a verdict for Coastal.  See Sullivan, 34 F.3d
                                                      ___ ________

          at 1096; Gallagher, 962 F.2d at 124-25.
                   _________

                               A.  Price Discrimination
                               A.  Price Discrimination

                    Section 2(a) of the Clayton Act, amended in 1936 by the

          Robinson-Patman Act, makes it

                      unlawful   for   any  person   . . .   to
                      discriminate in  price between  different
                      purchasers of  commodities of  like grade
                      and quality, where either  or any of  the
                      purchases involved in such discrimination
                      are in commerce,  . . . where  the effect

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                      of    such    discrimination    may    be
                      substantially  to  lessen  competition or
                      tend  to create a monopoly in any line of
                      commerce,  or  to   injure,  destroy,  or
                      prevent competition  with any  person who
                      either grants  or knowingly  receives the
                      benefit of such discrimination . . . .

          15 U.S.C.   13(a).  A pair of sales at different prices makes out

          a  prima  facie  case.   See  Falls City  Indus.,  Inc.  v. Vanco
             _____  _____          ___  _________________________     _____

          Beverage, Inc., 460  U.S. 428, 444 n.10 (1983);  FTC v. Anheuser-
          ______________                                   ___    _________

          Busch, Inc., 363 U.S. 536,  549 (1960) ("[A] price discrimination
          ___________

          within  the  meaning   of  [the  statute]   is  merely  a   price

          difference.").

                    Section  2(a)   includes  two   offenses  that   differ

          substantially, but are covered by the same statutory language.  A

          "primary-line" violation occurs where the discriminating seller's

          price  discrimination  adversely  impacts  competition  with  the

          seller's direct competitors.   See,  e.g., Brooke  Group Ltd.  v.
                                         ___   ____  __________________

          Brown &amp; Williamson Tobacco Corp., ___ U.S.  ___, 113 S. Ct. 2578,
          ________________________________

          2586, reh'g denied, 114 S. Ct. 13 (1993).   See generally Herbert
                ____________                          _____________

          Hovenkamp, Federal Antitrust  Policy: The Law of  Competition and
                     ______________________________________________________

          its  Practice    8.8  (1994).   In  contrast, a  "secondary-line"
          _____________

          violation  occurs   where  the   discriminating  seller's   price

          discrimination  injures competition among his customers, that is,

          purchasers from  the seller.  See, e.g., FTC  v. Sun Oil Co., 371
                                        ___  ____  ___     ___________

          U.S. 505,  519 (1963);  Caribe BMW,  Inc.  v. Bayerische  Motoren
                                  _________________     ___________________

          Werke, A.G., 19 F.3d 745, 748  (1st Cir. 1994); J.F. Feeser, Inc.
          ___________                                     _________________

          v. Serv-A-Portion, Inc.,  909 F.2d 1524, 1535-38 (3d  Cir. 1990),
             ____________________

          cert. denied, 499  U.S. 921 (1991).    See generally  Hovenkamp  
          ____________                           _____________


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          14.6.   The theory  of injury is  generally that  the defendant's

          lower  price sales  to the  plaintiff's  competitor (the  favored

          purchaser) placed the plaintiff at a competitive disadvantage and

          caused it to lose business.  Id.
                                       ___

                    We address first CAPECO's contention that  the district

          court erred in treating this  case as one of secondary-line price

          discrimination  rather  than primary-line  price  discrimination.

          Specifically, CAPECO protests the district court's instruction to

          the  jury that injury  to competition among  competing purchaser-

          resellers  may  be  inferred  from  proof  of  substantial  price

          discrimination by a producer among competing purchaser-resellers,

          an  inference appropriate to  secondary-line discrimination.  See
                                                                        ___

          FTC v. Morton Salt Co., 334 U.S. 37, 50-51 (1948).  CAPECO argues
          ___    _______________

          that Coastal  is affiliated  with an  organization that  competes

          with CAPECO,  and therefore  this was a  primary-line case;  as a

          result, the Morton Salt inference would not apply.
                      ___________

                    We do not consider the argument that this is a primary-

          line case,  because CAPECO has  chosen to make this  argument for

          the first time on appeal.  While CAPECO did object to  the Morton
                                                                     ______

          Salt  instruction at  the  district  court,  that  objection  was
          ____

          directed at the use of the  word "infer" couched in a generalized

          attack on the instruction as  suggesting a presumption not  borne

          out by case law.2  We have noted before that "Rule 513 means what

                              
          ____________________

          2  We address this distinct argument below.

          3  Fed. R. Civ. P. 51 states, in pertinent part, that


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          it says:   the grounds for objection must  be stated 'distinctly'

          after the charge to give the  judge an opportunity to correct his

          [or  her] error."   Linn  v. Andover  Newton  Theological School,
                              ____     ____________________________________

          Inc., 874 F.2d  1, 5 (1st Cir.  1989); see also Jordan  v. United
          ____                                   ________ ______     ______

          States Lines, Inc.,  738 F.2d 48,  51 (1st  Cir. 1984).   Leaving
          __________________

          aside  whether the  district court  in fact  erred in  making the

          questioned  instruction, it seems  clear that CAPECO  did not set

          forth  the argument  it  now  advances when  it  objected to  the

          instruction at issue.   And if CAPECO did intend  to express this

          argument, it  neither advised  the district  court judge  of this

          problem in  a manner that  would allow him to  make a correction,

          nor informed  him what a satisfactory  cure would be.   Linn, 874
                                                                  ____

          F.2d at 5.  Because the argument was thus not preserved,  we will

          reverse or  award a new  trial only if  the error "resulted  in a

          miscarriage  of justice  or  'seriously  affected  the  fairness,

          integrity  or public  reputation of  the judicial  proceedings.'"

          Scarfo v.  Cabletron Systems,  Inc., 54 F.3d  931, 945  (1st Cir.
          ______     ________________________

          1995) (quoting Lash v. Cutts, 943 F.2d 147, 152 (1st Cir. 1991)).
                         ____    _____

          We fail  to find such  concerns of judicial  propriety implicated

          here.4
                              
          ____________________

                      [n]o party  shall  assign  as  error  the
                      giving   or  the   failure  to   give  an
                      instruction  unless  that  party  objects
                      thereto  before   the  jury   retires  to
                      consider its verdict,  stating distinctly
                      the matter objected to and the grounds of
                      the objection.

          4  While  this court has admitted "occasional"  exceptions to the
          "raise-or-waive" principle, see National Assoc. of Social Workers
                                      ___ _________________________________
          v.  Harwood, 69  F.3d at  627-28,  the concerns  that justify  an
              _______

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                    As a result, we analyze  this case as one of secondary-

          line discrimination.   Thus, the theory of injury  is that CAPECO

          sold bunker fuel  to Coastal at an unfavorable  price relative to

          Harbor  and  Caribbean,  and  consequently,  competition  between

          Coastal, Harbor  and Caribbean was  thereby injured.   On appeal,

          CAPECO  makes three  arguments based  on what  it purports  to be

          required  elements  for  Coastal's price  discrimination  damages

          claim:  first, that the sales in question  were not "in commerce"

          and  so section  2(a)'s prohibitions do  not apply;  second, that

          Coastal  failed  to  make the  requisite  showing  of competitive

          injury to  prevail; and third,  that Coastal failed to  carry its

          burden  of proving  actual injury in  order to be  entitled to an

          award of money damages.

                                  1.  "In Commerce"
                                  1.  "In Commerce"

                    CAPECO argues, correctly we conclude, that section 2(a)

          of the Clayton  Act does not apply  because in the instant  case,

          neither of the two transactions  which evidence the alleged price

          discrimination  crossed a  state line.   Gulf  Oil Corp.  v. Copp
                                                   _______________     ____

          Paving Co.,  419  U.S. 186,  200-201,  200 n.17  (1974).   For  a
          __________

          transaction  to qualify,  the product  at  issue must  physically

          cross a state boundary in either the sale to the favored buyer or

          the sale  to  the buyer  allegedly discriminated  against.   See,
                                                                       ___

          e.g., Misco, Inc. v. United States Steel Corp., 784 F.2d 198, 202
          ____  ___________    _________________________
                              
          ____________________

          exception are  not implicated  here, see id.,  69 F.3d  at 627-28
                                               ___ ___
          (finding exception given certain circumstances including the fact
          that failure to raise  issue did not deprive court  of appeals of
          useful  factfinding, and  the  fact that  the  issue in  question
          raises constitutional concerns).

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          (6th Cir.  1986); Black Gold  Ltd. v. Rockwool  Industries, Inc.,
                            ________________    __________________________

          729 F.2d 676, 683 (10th Cir.), cert. denied, 469 U.S. 854 (1984);
                                         ____________

          William Inglis &amp;  Sons Baking Co. v. ITT  Continental Baking Co.,
          _________________________________    ___________________________

          668 F.2d  1014, 1043-44 (9th  Cir. 1981), cert. denied,  459 U.S.
                                                    ____________

          825 (1982);  S&amp;M Materials  Co. v. Southern  Stone Co.,  612 F.2d
                       __________________    ___________________

          198, 200 (5th Cir.), cert. denied, 449 U.S. 832 (1980); Rio Vista
                               ____________                       _________

          Oil, Ltd.  v. Southland  Corp., 667  F. Supp.  757, 763 (D.  Utah
          _________     ________________

          1987).

                    However,  this issue  is not  dispositive, because  the

          jury  found   that  CAPECO   violated  the   Puerto  Rico   price

          discrimination statute, which is identical to Section 2(a) except

          that it contains no interstate commerce requirement.5  CAPECO has

          not  challenged the  district  court's supplemental  jurisdiction

          stemming from Coastal's Sherman Act claims.  The relevant statute

          states that "in  any civil action over which  the district courts
                              
          ____________________

          5  The relevant language is as follows:

                      It  shall  be  unlawful for  any  person,
                      either   directly   or   indirectly,   to
                      discriminate in  price between  different
                      purchasers of  commodities of  like grade
                      and quality,  where such  commodities are
                      sold for  use, consumption, or  resale in
                      Puerto Rico, and where the effect of such
                      discrimination  may  be  substantially to
                      lessen competition  or tend  to create  a
                      monopoly  in  any  line  of  commerce  in
                      Puerto Rico,  or to  injure, destroy,  or
                      prevent competition  with any  person who
                      either grants  or knowingly  receives the
                      benefit of  such discrimination,  or with
                      customers of either of them.

          10 L.P.R.A. 263 (1976).   Furthermore, Puerto Rico law includes a
          counterpart for the section 4  of the Clayton Act's authorization
          of treble damages.  See 10 L.P.R.A. 268 (1976).
                              ___

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          have  original  jurisdiction,  the  district  courts  shall  have

          supplemental  jurisdiction  over  all other  claims  that  are so

          related to claims in the action . . . that they form part of  the

          same  case  or  controversy."    28 U.S.C.     1367  (1994).   In

          application, "[i]f, considered without regard to their federal or

          state character, a  plaintiff's claims are  such that [it]  would

          ordinarily  be  expected   to  try  them  all  in   one  judicial

          proceeding, then,  assuming substantiality of the federal issues,

          there is power in federal courts to hear the whole."  United Mine
                                                                ___________

          Workers of America v. Gibbs,  383 U.S. 715, (1966); see Rodr guez
          __________________    _____                         ___ _________

          v. Doral  Mortgage Corp., 57  F.3d 1168, 1175-76 (1st  Cir. 1995)
             _____________________

          (interpreting and  applying 28  U.S.C.   1367).   In  the instant

          case, the price discrimination claims flow out of the same set of

          facts and  require the same  evidence as the Sherman  Act claims.

          Because  we uphold  the district  court's  jurisdiction over  the

          Sherman Act  claims, see 15  U.S.C.   4 (1994)  (investing "[t]he
                               ___

          several  district  courts  of  the  United  States  .  .  .  with

          jurisdiction to  prevent and  restrain violations  of [Title  15]

          sections 1 to 7[,]" which includes the Sherman Act), we also must

          conclude that the district court properly exercised supplementary

          jurisdiction over the price discrimination claims.

                    Thus,  we conclude  that the  district  court erred  in

          applying section 2(a) of the Clayton Act to the conduct at issue,

          and accordingly  reverse that part  of its opinion.   However, we

          find applicable section 263 of the Puerto Rico Anti-Monopoly Act,

          10 L.P.R.A.   263.  Because  section 263 was patterned after  and


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          is  almost identical  to  section  2(a) of  the  Clayton Act,  as

          amended by the Robinson-Patman Act, we look to  the jurisprudence

          interpreting federal  law as  a guide  in applying the  statute.6

          Given that the one key  difference between the federal and Puerto

          Rico statutes is the lack of an  "in commerce" requirement in the

          Puerto  Rico analogue,  we  conclude  that  we  should  interpret

          section 263 as intended to  extend the provisions of section 2(a)

          of the  Clayton Act to  price discrimination within  Puerto Rico,

          the situation which we  confront in the instant case.   Given the

          relative lack  of applicable section  263 case law and  the well-

          developed jurisprudence concerning  Clayton Act section 2(a),  we

          will focus on  the latter in  assessing the price  discrimination

          claims.

                              2.  Injury to Competition
                              2.  Injury to Competition

                    CAPECO's second  argument in  support of reversing  the

          price  discrimination portion  of the  judgment  is that  Coastal

          failed to demonstrate injury to  competition.  As noted above, we

          analyze  this case as one of secondary-line price discrimination,

                              
          ____________________

          6   See  Caribe  BMW,  Inc.,  19 F.3d  at  753  (1st  Cir.  1994)
              ___  __________________
          (interpreting "Puerto  Rico's laws  as essentially  embodying the
          jurisprudence  relevant  to  the  parallel  federal  law,"  where
          antitrust plaintiff asserted claims under a Puerto Rico antitrust
          law that paralleled  its federal antitrust law  claim); Whirlpool
                                                                  _________
          Corp. v. U.M.C.O. Int'l Corp., 748 F. Supp. 1557, 1565 n.4  (S.D.
          _____    ____________________
          Fla.  1990)  (noting  that  "federal  precedents  construing  the
          [Clayton   Act,  as  amended  by  the]  Robinson-Patman  Act  are
          applicable to the  interpretation of Section  263" of the  Puerto
          Rico Anti-Monopoly Act); see also Diario de Sesiones,  1964, Vol.
                                   ________
          18,  Part 4, pp.  1425-26, 1509, 1512,  1707-09; Arturo Estrella,
          Antitrust Law in Puerto Rico, 28 Rev.  Jur. del Col. Ab. P.R. 615
          ____________________________
          (stating that interpretations of the Federal  Robinson-Patman Act
          are to be looked to in construing section 263).

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          and  thus  Coastal   bears  the  burden  of   showing  injury  to

          competition  between Coastal and its rival bunker fuel resellers,

          Harbor and Caribbean.   Addressing the  burden of the  secondary-

          line plaintiff, the Supreme Court has stated that 

                      [i]t  would  greatly  handicap  effective
                      enforcement   of  the   Act  to   require
                      testimony to show  that which we  believe
                      to be self-evident, namely, that there is
                      a    "reasonable     possibility"    that
                      competition may be  adversely affected by
                      a practice under  which manufacturers and
                      producers  sell   their  goods   to  some
                      customers substantially cheaper than they
                      sell  like goods  to  the competitors  of
                      these customers.

          Morton Salt Co., 334 U.S. at 50.  As a result, the Supreme  Court
          _______________

          has  held that  "for  the  purposes of  section  2(a), injury  to

          competition is established prima facie by proof  of a substantial

          price  discrimination between  competing  purchasers over  time."

          Falls City, 460 U.S. at 435 (citing  Morton Salt, 334 U.S. at 46,
          __________                           ___________

          50-51); see  also Texaco,  Inc. v. Hasbrouck,  496 U.S.  543, 559
                  _________ _____________    _________

          (1990); Monahan's Marine,  Inc. v. Boston Whaler,  Inc., 866 F.2d
                  _______________________    ____________________

          525, 528-529  (1st Cir. 1989) (noting lower  burden for antitrust

          plaintiff  under Clayton Act,  as amended by  the Robinson-Patman

          Act, than  under Sherman  Act); Boise Cascade  Corp. v.  FTC, 837
                                          ____________________     ___

          F.2d 1127, 1139 (D.C. Cir. 1988).

                    CAPECO  challenges  the  district  court's  finding  of

          competitive injury in two ways, arguing that the Morton Salt rule
                                                           ___________

          is no  longer good  law, or alternatively,  that the  Morton Salt
                                                                ___________

          rule  was incorrectly  applied in  this case.   We  first address

          CAPECO's  direct challenge  to the  vitality of  the Morton  Salt
                                                               ____________


                                         -15-
                                         -15-














          rule, a challenge based on  the Supreme Court's opinion in Brooke
                                                                     ______

          Group, 113 S.  Ct. 2578.  In  that case, the Supreme  Court ruled
          _____

          that,  because primary-line price discrimination injury is of the

          "same general character" as predatory  pricing schemes actionable

          under Sherman Act section  2, Brooke Group, ___ U.S. ___,  113 S.
                                        ____________

          Ct.  at  2587, a  primary-line  injury plaintiff  bears  the same

          substantive burden  as  under  the  Sherman  Act,  that  is,  the

          plaintiff  must show  that  the predator  stands  some chance  of

          recouping his losses,  id. ___ U.S. at  ___, 113 S. Ct.  at 2588.
                                 ___

          In so deciding,  the Supreme Court implicitly  overruled Utah Pie
                                                                   ________

          Co. v. Continental Baking Co., 386 U.S. 685 (1967),  in which the
          ___    ______________________

          Supreme  Court had set forth different standards for primary-line

          injury.   Brooke  Group, ___  U.S.  at ___,  113 S.  Ct.  at 2587
                    _____________

          (explaining  that  Utah   Pie  was  merely  an   "early  judicial
                             __________

          inquiry").

                    According  to   CAPECO,  the  Supreme   Court's  recent

          emphasis  in  Brooke  Group  on reconciling  the  area  of  price
                        _____________

          discrimination with  other antitrust  law requires  that we  find

          that the Morton  Salt rule no longer  is good law.   CAPECO notes
                   ____________

          that both  primary-line and  secondary-line price  discrimination

          are prohibited by the same language of section 2(a) as amended by

          the Robinson-Patman Act.   Furthermore, CAPECO contends  that the

          Supreme Court in Brooke Group apparently undercut any reliance on
                           ____________

          a principled  distinction between  the aims of  section 2  of the

          Clayton  Act  and  other antitrust  laws'  purported  emphasis on

          protecting  "competition, not competitors,"  Brooke Group, 113 S.
                       ___________      ___________    ____________


                                         -16-
                                         -16-














          Ct. at 2588  (emphasis in original) (citation  omitted); see also
                                                                   ________

          Monahan's Marine,  Inc., 866 F.2d  at 528-29 (not  discussing the
          _______________________

          Morton Salt rule, but noting  that "unlike the Sherman Act, which
          ___________

          protects  'competition not  competitors,' .  .  . the  [Robinson-
                     ___________      ___________

          Patman] Act protects those who compete with a favored seller, not
                               _________________

          just the  overall competitive process."  (emphasis in original)).

          Thus,  according to CAPECO, precedent that pre-dates Brooke Group
                                                               ____________

          and applies the Morton Salt rule must be  reexamined.  See, e.g.,
                          ___________                            ___  ____

          496 U.S. at  544; Falls City, 460  U.S. at 436; Boise  Cascade v.
                            __________                    ______________

          FTC, 837 F.2d 1127, 1153 (D.C. Cir. 1988).
          ___

                    While  CAPECO's argument  has merit,  we  join the  two

          other   circuits  that  have   addressed  competitive  injury  in

          secondary-line  cases since Brooke Group in refusing to disregard
                                      ____________

          the rule the  Supreme Court formulated in Morton  Salt, for three
                                                    ____________

          reasons.7  First, the statutory structure that prohibits primary-

          line  price  discrimination  "stands  on  an  entirely  different

          footing" than the statutory scheme that proscribes secondary-line

          discrimination.  See Rebel  Oil Co., 51 F.3d  at 1446.   Congress
                           ___ ______________

          first forbade primary-line price discrimination with  the Clayton
                              
          ____________________

          7   See Stelwagon  Manufacturing Co. v.  Tarmac Roofing  Systems,
              ___ ____________________________     ________________________
          Inc., 63  F.3d 1267,  1271 (3d Cir.  1995) (applying  Morton Salt
          ____                                                  ___________
          rule  without  discussion of  Brooke  Group);  Rebel Oil  Co.  v.
                                        _____________    ______________
          Atlantic  Richfield  Co.,  51  F.3d 1421,  1446  (9th  Cir. 1995)
          ________________________
          (noting in  dicta that "in holding that  a primary-line plaintiff
          must  demonstrate  an  injury  flowing  from  an  aspect  of  the
          defendant's conduct injurious  to consumer welfare, we  intend in
          no way to affect the  standard for antitrust injury in secondary-
          line  cases").   But see  also Bob  Nicholson Appliance,  Inc. v.
                           _____________ _______________________________
          Maytag Co., 883 F. Supp. 321, 326 (S.D. Ind. 1994)  (holding that
          __________
          "we  are  persuaded that  the  Seventh Circuit  would  extend the
          reasoning   of  Brooke  Group   and  require  actual   injury  to
                          _____________
          competition").

                                         -17-
                                         -17-














          Act of 1914, which originally condemned discrimination that might

          "substantially   . .  . lessen  competition or  tend to  create a

          monopoly in  any line  of commerce."   Clayton Antitrust  Act, 38

          Stat.  730 (1914)  (codified  as  amended at  15  U.S.C.    13(a)

          (1994)).  The statute was  intended to prevent large corporations

          from  invading  markets  of small  firms  and  charging predatory

          prices  for the purpose of destroying marketwide competition, and

          thus specifically applied only to  primary-line injury.  See H.R.
                                                                   ___

          Rep. No. 627, 63rd Cong., 2d Sess.   8 (1914); E. Thomas Sullivan

          &amp; Jeffrey L. Harrison, Understanding  Antitrust and Its  Economic
                                 __________________________________________

          Implications   8.03 (1988).
          ____________

                    By   contrast,    secondary-line   discrimination    is

          forbidden  by the Robinson-Patman  Act, 49 Stat.  1526 (1936), 15

          U.S.C.     13-13b, 21a (1988), which amended the original Clayton

          Act's  price  discrimination  proscriptions.    Congress  clearly

          intended the  Robinson-Patman Act's  provision to  apply only  to

          secondary-line cases, not  to primary-line cases.   See H.R. Rep.
                                                              ___

          No. 2287, 74th  Cong., 2d Sess.    8 (1936),8 cited in  Rebel Oil
                                                        ________  _________

          Co., 51 F.3d at  1446.  In  contrast to the  Sherman Act and  the
          ___

          Clayton  Act, which were intended to  proscribe only conduct that

          threatens  consumer  welfare, the  Robinson-Patman  Act's framers

          "intended  to  punish  perceived economic  evils  not necessarily

                              
          ____________________

          8   The Robinson-Patman  Act "attaches  to competitive  relations
          between a  given seller and  his several customers.   It concerns
          discrimination  between customers  of the  same  seller.   It has
          nothing to  do with  . .  .  requir[ing] the  maintenance of  any
          relationship in prices charged by a competing seller."  H.R. Rep.
          No. 2287, 74th Cong., 2d Sess.   8 (1936).

                                         -18-
                                         -18-














          threatening to  consumer welfare per se."  Rebel Oil Co., 51 F.3d
                                                     _____________

          at 1445.    See generally  Hovenkamp   2.1a.  In  particular, the
                      _____________

          Robinson-Patman  Act's amendments to the Clayton Act stemmed from

          dissatisfaction  with  the original  Clayton  Act's  inability to

          prevent  large retail chains from obtaining volume discounts from

          big  suppliers,  at  the  disadvantage  of  small  retailers  who

          competed with  the chains.  See S. Rep.  No. 1502, 74th Cong., 2d
                                      ___

          Sess.   4 (1936); H.R. Rep. No. 2287, 74th Cong., 2d Sess.    3-4

          (1936); see also Morton Salt,  334 U.S. at 49 ("Congress intended
                  ________ ___________

          to protect  a merchant  from competitive  injury attributable  to

          discriminatory  prices");  Rebel  Oil Co.,  51  F.3d  1421, 1446;
                                     ______________

          Monahan's Marine, Inc., 866 F.2d at 528-29.
          ______________________

                    Second, we are persuaded by the reasoning  of the Ninth

          Circuit's  opinion in  Rebel Oil  Co. that  the amendment  to the
                                 ______________

          Clayton  Act effected  by the  Robinson-Patman  Act supports  the

          continued vitality of the  Morton Salt rule, even in the  face of
                                     ___________

          Brooke  Group's alteration  of standards  for primary-line  price
          _____________

          discrimination.   While the  Clayton Act only  proscribed conduct

          that may  "substantially lessen competition  or tend to  create a

          monopoly[,]" the  new law  added the following  passage:   "or to

          injure,  destroy,  or  prevent competition  with  any  person who

          either  grants  or   knowingly  receives  the  benefit   of  such

          discrimination, or with customers of  either of them."  See Rebel
                                                                  ___ _____

          Oil Co., 51 F.3d   at 1447.  The purpose  of this passage was  to
          _______

          relieve  secondary-line  plaintiffs --  small  retailers  who are

          disfavored  by discriminating suppliers  -- from having  to prove


                                         -19-
                                         -19-














          harm to competition  marketwide, allowing them instead  to impose

          liability simply  by proving  effects on  individual competitors.

          See id.; H.R.  Rep. No. 2287,  74th Cong., 2d  Sess.   8  (1936).
          ___ ___

          Such legislative intent directly supports  maintaining the Morton
                                                                     ______

          Salt  rule, which  puts  into  practice  Congress'  concern  with
          ____

          placing the same  burden on secondary-line plaintiffs  that other

          antitrust plaintiffs face.  Thus, the comparison that the Supreme

          Court  drew   between  primary-line   price  discrimination   and

          predatory pricing  in Brooke  Group  stands on  a different,  and
                                _____________

          stronger, footing than any comparison  that could be made between

          secondary-line price discrimination  and other area of  antitrust

          law, including, but not only, predatory pricing. 

                    Third, and  finally, the  holding of  the Brooke  Group
                                                              _____________

          opinion  on its  face  applies only  to  primary-line cases,  not

          secondary-line cases.  As a result, given the legislative history

          and statutory language distinctions, we will not presume, without

          more guidance, that the Supreme Court intended in Brooke Group to
                                                            ____________

          alter the well-established rule that it adopted in Morton  Salt.9
                                                             ____________

          Thus,  we hold that  the Morton Salt  rule continues  to apply to
                                   ___________

          secondary-line injury cases such as the present one.
                              
          ____________________

          9   While concerns about overenforcement harming overall consumer
          welfare may  be valid,  the Supreme Court  retains the  option of
          speaking  further  on this  issue.   See  generally  Paul Larule,
                                               ______________
          Robinson-Patman Act in the Twenty-First Century:  Will the Morton
          _________________________________________________________________
          Salt  Rule  Be Retired?  48  S.M.U.  L.  Rev. 1917,  1927  (1995)
          _______________________
          (concluding that "[w]hen an appropriate case comes before it, the
          [Supreme]  Court  may  well  decide  to  make  the  final  cut");
          Hovenkamp     14.6a   (arguing  that,  after  Brooke   Group,  "a
                                                        ______________
          reinterpretation of  Robinson-Patman so  as to permit  secondary-
          line injury  only when competition  itself is threatened  is long
          overdue").

                                         -20-
                                         -20-














                    The Morton Salt rule provides that, for the purposes of
                        ___________

          secondary-line claims under section  2(a), "injury to competition

          is established  prima  facie  by proof  of  a  substantial  price

          discrimination between competing  purchasers over  time."   Falls
                                                                      _____

          Cities Industries  v. Vanco  Beverage, Inc.,  460  U.S. 428,  435
          _________________     _____________________

          (1983)  (citing Morton  Salt, 334  U.S.  at 46,  50-51).   If the
                          ____________

          plaintiff makes  such a  showing, then "[t]his  inference may  be

          overcome by  evidence breaking  the causal  connection between  a

          price differential and  lost sales or profits."   Falls City, 460
                                                            __________

          U.S. at 435.  Barring evidence breaking that connection, however,

          "for  a[] plaintiff to  prove competitive injury  under Robinson-

          Patman,  he [or  she] need  only  show that  a substantial  price

          discrimination  existed as between  himself [or herself]  and his

          [or her]  competitors   over  a period  of time."   Hasbrouck  v.
                                                              _________

          Texaco, Inc.,  842 F.2d  1034, 1041 (9th  Cir. 1987),  aff'd, 496
          ____________                                           _____

          U.S. 543 (1990).

                    Here the jury  properly inferred prima facie  injury to
                                                     _____ _____

          competition since Coastal produced sufficient evidence before the

          jury  to conclude  (1) that  the discrimination  in question  was

          continuous  and  substantial  and  (2)  that  the  discrimination

          occurred  in  a  business  where  profit  margins  were  low  and

          competition was keen.  4 Von Kalinowski, Antitrust Laws and Trade
                                                   ________________________

          Regulation   31.04(1).   First, the discrimination lasted  all 18
          __________

          months that Coastal was in business, and always exceeded the five

          cents  per  barrel  that  witnesses testified  was  competitively

          significant.   Additionally, there  was ample testimony  that the


                                         -21-
                                         -21-














          marine  fuel  oil  business, in  which  Coastal  competed against

          Caribbean  and  Harbor,  was characterized  by  thin  margins and

          intense competition.   At  any rate, on  appeal, CAPECO  does not

          make  the  argument  that  Coastal  failed  to  produce  evidence

          required for a prima facie showing of injury to competition under
                         _____ _____

          the Morton Salt rule.
              ___________

                    However, CAPECO argues  that the Morton  Salt inference
                                                     ____________

          was undercut by evidence "breaking the causal connection" between

          CAPECO's  price  discrimination  and   Coastal's  lost  sales  or

          profits, Falls City,  460 U.S. at 435, and showing  an absence of
                   __________

          competitive injury,  Boise Cascade Corp.  v. FTC, 837  F.2d 1144,
                               ___________________     ___

          1146  (D.C.  Cir. 1988).    According to  CAPECO,  overall market

          forces depressed the  price for bunker fuel more  than 30 percent

          between late 1991  and early 1992,  and it was this  fact, rather

          than CAPECO's price discrimination, that led to Coastal's demise.

          CAPECO  points to the  admission of Coastal's  CEO that Coastal's

          sales  agents based  their price  quotes to  ships on  the prices

          being charged by  competitors in San Juan and  other ports, often

          without  even  knowing  the  cost of  the  fuel  that  was  to be

          delivered.   According to CAPECO,  if prices were set  when costs

          were unknown,  then discounts from  CAPECO could not have  been a

          material factor in setting prices.

                    We  reject  the  argument  that  this  evidence  rebuts

          Coastal's  prima facie  showing  of  price  discrimination.    In
                     _____ _____

          reviewing the  jury verdict, "[w]e are compelled .  . . even in a

          close  case,  to   uphold  the  verdict  unless   the  facts  and


                                         -22-
                                         -22-














          inferences, when  viewed in a  light most favorable to  the party

          for whom the  jury held, point so strongly  and overwhelmingly in

          favor of the movant that a reasonable jury could not have arrived

          at  this  conclusion."    Chedd-Angier  Production  Co.  v.  Omni
                                    _____________________________      ____

          Publications Int'l Ltd.,  756 F.2d 930, 934 (1st  Cir. 1985); see
          _______________________                                       ___

          also Rodr guez  v. Montalvo, 871  F.2d 163, 165 (1st  Cir. 1989);
          ____ _________     ________

          Castro v. Stanley Works, 864 F.2d 961, 963 (1st Cir. 1989); Brown
          ______    _____________                                     _____

          v. Freedman Baking Co., 810 F.2d 6, 12 (1st Cir. 1987).  Thus, in
             ___________________

          this case,  the appellants  must "persuade us  that the  facts of

          this case  so conclusively  point to a  verdict in  [their] favor

          that  fair-minded people could  not disagree about  the outcome."

          Chedd-Angier Production Co., 756 F.2d at 934.
          ___________________________

                    Here,  neither section  2(a),  section 263,  nor  their

          attendant case  law, requires  that the  price discrimination  in

          question be directly  factored into the  prices that favored  and

          disfavored  purchaser-resellers   offered  to   their  customers.

          Presumably,  regardless  of  whether these  costs  were  factored

          directly into  the prices  that  Coastal offered,  or were  later

          calculated  into  Coastal's  bottom  line,  these costs  affected

          Coastal's pricing.  Certainly, no  argument can be made from this

          evidence  alone that bunker fuel  costs, no matter when accounted

          for, were not causally connected to Coastal's lost profits.  See,
                                                                       ___

          e.g., Hasbrouck v. Texaco, Inc., 842 F.2d 1034, 1039-41 (9th Cir.
          ____  _________    ____________

          1987), aff'd, 496  U.S. 543  (1990) (finding  that evidence  that
                 _____

          "some portion" of small extra  discounts of 2 -5  on gasoline was

          passed on  by  favored customers  sufficient,  particularly  when


                                         -23-
                                         -23-














          retail   gasoline  market   was   "strongly  price   sensitive").

          Additionally,  the  fact  that Coastal's  sales  agents  operated

          without  complete knowledge of the  prices at which other Coastal

          agents  were  purchasing  the  bunker fuel  that  would  later be

          delivered does  not, without more, show an absence of competitive

          injury.

                                  3.  Actual Injury
                                  3.  Actual Injury

                    CAPECO  also contends  that Coastal  failed  to present

          adequate evidence  of actual injury  to support the verdict.   On

          appeal, CAPECO does not complain that the court's instructions to

          the jury on the actual  injury requirement were erroneous.  Thus,

          the only question  regarding this issue  is whether the  evidence

          that  Coastal presented  to the  jury  was adequate  to permit  a

          reasonable inference of actual injury.

                    Although  we  have  concluded that  Coastal  has proved

          competitive injury  under Title  10, Section 263  of the  Laws of

          Puerto Rico, in order to  collect damages as a private plaintiff,

          Coastal must show that CAPECO's offense was a "material cause" of

          injury.  See  Zenith Radio Corp. v. Hazeltine  Research, 395 U.S.
                   ___  __________________    ___________________

          100, 114 n.9 (1969);  Hasbrouck, 842 F.2d at 1042;  Allen Pen Co.
                                _________                     _____________

          v.  Springfield Photo  Mount Co.,  653 F.2d  17, 21-22  (1st Cir.
              ____________________________

          1981).   Coastal  was  required to  show  that,  as a  result  of

          CAPECO's  price  discrimination,  it "lost  sales  and  profits."

          Hasbrouck, 842 F.2d at 1042; see Allen  Pen Co., 653 F.2d 17, 21-
          _________                    ___ ______________

          22 (1st Cir. 1981).  CAPECO contends that, to do so,  Coastal was

          required  to "indicate and  document specific losses  of business


                                         -24-
                                         -24-














          [for Coastal] and corresponding  gains by [favored  competitors],

          or   otherwise  show  that  [Coastal's]  losses  were  caused  by

          [CAPECO's]    practices."        Foremost-McKesson,    Inc.    v.
                                           __________________________

          Instrumentation Laboratory,  Inc., 527  F.2d 417,  420 (5th  Cir.
          _________________________________

          1976);  see also  Falls City,  460  U.S. at  437-38 (ruling  that
                  ________  __________

          findings based on "direct evidence of  diverted sales" "more than

          established the  competitive injury  required for  a prima  facie

          case under section 2(a)").

                    Assuming  arguendo  that CAPECO  correctly  claims that

          Coastal  needed to  show specific  losses  of business,  CAPECO's

          argument fails to persuade us.10   CAPECO concedes that a Coastal

          employee, Andrew McIntosh ("McIntosh") testified that Coastal was

          getting  "feedback" from its  customers that its  prices were not

          competitive.   Whether  or  not  to credit  such  testimony is  a

          decision best left to the factfinder.  See Wytrwal v. Saco School
                                                 ___ _______    ___________

          Bd., 70 F.3d 165, 171 (1st Cir.  1995); Flanders &amp; Medeiros, Inc.
          ___                                     _________________________

          v. Begosian, 65 F.3d  198, 204 n.4  (1st Cir. 1995).   McIntosh's
             ________

          testimony,  if believed,  could lead a  jury to  reasonably infer

          actual injury in the form of lost sales.

                    CAPECO also contends that because McIntosh's  testimony

          was based on statements other  Coastal employees had made to him,

                              
          ____________________

          10   There is  conflicting authority for  the proposition  that a
          jury may infer  actual injury from circumstantial  evidence.  See
                                                                        ___
          Continental Ore Co. v. Union Carbide Corp., 370 U.S. 690, 697-700
          ___________________    ___________________
          (1962).    However,  we  need  not  consider  here  whether  this
          standard, which is more favorable to Coastal, applies rather than
          the  standard that CAPECO  advocates, since Coastal  actually did
          proffer evidence, albeit only employee testimony, that its prices
          were causing it to lose business.

                                         -25-
                                         -25-














          it was both inadmissible hearsay evidence, see Fed. R. Evid. 802,
                                                     ___

          and even if admissible, legally insufficient to support a finding

          of  actual injury.   In  making this  argument, CAPECO  cites two

          cases,  Stelwagon  Manufacturing Co.  v. Tarmac  Roofing Systems,
                  ____________________________     ________________________

          Inc., 63 F.3d  1267, 1275-76 (3d Cir. 1995),  and Chrysler Credit
          ____                                              _______________

          Corp. v. J. Truett Payne Co., 670  F.2d 575, 581 (5th Cir. 1982).
          _____    ___________________

          However, the  two cases  are inapposite.   Apparently unlike  the

          defendant in Stelwagon, CAPECO did not make a lower court hearsay
                       _________

          objection to the testimony in  question.  See Stelwagon Mfg. Co.,
                                                    ___ __________________

          63 F.3d at 1275, n.17.

                    Additionally, the Fifth Circuit's opinion  in J. Truett
                                                                  _________

          Payne is distinguishable in a significant manner from the instant
          _____

          case.  In a preceding Supreme Court opinion, the Court noted that

                      [a]lthough [Payne  Co.'s owner]  asserted
                      that his salesmen  and customers told him
                      that the dealership  was being undersold,
                      he admitted that  he did not know  if his
                      competitors  did in  fact  pass on  their
                      lower costs to their customers.

          J. Truett  Payne, Co. v. Chrysler Motors Corp., 451 U.S. 557, 564
          _____________________    _____________________

          (1981).   Likewise,  Payne Co.'s  expert witness did  not testify

          that the lower  costs were passed  on in the  retail price.   Id.
                                                                        ___

          The Court found  important the lack of evidence  that competitors

          passed on discounts to customers.   Id. at 564, n.4.  On  remand,
                                              ___

          the  Fifth Circuit noted,  in finding the  evidence insufficient,

          that Payne Co.'s witnesses only  "spoke to either the supposed or

          hypothesized effect of the programs."   J. Truett Payne, 670 F.2d
                                                  _______________

          at 581.  By contrast,  while Coastal offered similar testimony of

          feedback   about  being  undersold,  it  also  put  forth  expert

                                         -26-
                                         -26-














          testimony that  Caribbean and  Harbor had  fully passed  on their

          lower  costs to  the  ships purchasing  marine  fuel.   Coastal's

          expert testified that  "CAPECO gave discriminatory low  prices to

          Harbor and Caribbean . .  . [that] were fully passed on .  . . to

          the  ships  purchasing  marine  fuel."    Thus,  because  Coastal

          proffered evidence linking  the discounts in question  to actual,

          not hypothetical, effects, J. Truett Payne is inapposite.
                                     _______________

                    We conclude  that, once  admitted, this evidence  could

          have  led   the  jury  to  reasonably  infer   actual  injury  to

          competition.

                                  B.  Monopolization
                                  B.  Monopolization

                    Section 2 of  the Sherman Act, 15 U.S.C.    2, condemns

          "every person who shall monopolize,  or attempt to monopolize . .

          . any part  of the trade  or commerce among the  several States."

          Similarly,  Title 10,  Section 260  of  the Laws  of Puerto  Rico

          tracks this language.  Claims under this Puerto Rico analogue are

          to be analyzed  in the same manner  as claims under section  2 of

          the Sherman Act.  See R.W. Intern.  Corp. v. Welch Food, Inc., 13
                            ___ ___________________    ________________

          F.3d  478, 486-88  (1st  Cir. 1994);  Americana  Indus., Inc.  v.
                                                _______________________

          Wometco de Puerto Rico, 556 F.2d 625, 626-28 (1st Cir. 1977); see
          ______________________                                        ___

          also  Pressure Vessels  of Puerto  Rico v.  Empire Gas  of Puerto
          ____  _________________________________     _____________________

          Rico, 94  JTS 144, *432  (P.R. 1994).   To  successfully prove  a
          ____

          monopolization  offense, a  plaintiff  must  show  that  (1)  the

          defendant has monopoly power  and (2) the defendant  "has engaged

          in  impermissible  'exclusionary' practices  with  the  design or

          effect  of  protecting  or  enhancing  its   monopoly  position."


                                         -27-
                                         -27-














          Hovenkamp     6.4a.   On  appeal,  CAPECO challenges  the  jury's

          verdict that it had monopoly power, and also contends that it did

          not  engage in impermissible 'exclusionary' practices in order to

          protect or gain a monopoly.

                    To  determine  whether  a party  has  or  could acquire

          monopoly power  in a market,  "courts have found it  necessary to

          consider  the  relevant  market and  the  defendant's  ability to

          lessen or destroy  competition in that market."   Spectrum Sports
                                                            _______________

          v. McQuillan, 506 U.S. 447, 456 (1993).  CAPECO's  first argument
             _________

          is that the jury erred in finding San Juan Harbor as the relevant

          geographic  market for  bunker  fuel.   In general,  the relevant

          geographic  market consists of "the  geographic area in which the

          defendant   faces  competition   and   to  which   consumers  can

          practically   turn  for  alternative  sources  of  the  product."

          Baxley-DeLamar v. American Cemetary Assn., 938 F.2d 846, 850 (8th
          ______________    _______________________

          Cir. 1991);  see also Tampa  Electric Co. v. Nashville  Coal Co.,
                       ________ ___________________    ___________________

          365 U.S. 320, 327 (1961).

                    In its monopolization claim, Coastal argued that CAPECO

          took steps to drive it out of San Juan Harbor because  Coastal is

          affiliated with a refinery in  Aruba.  Coastal apparently had the

          capacity to import the residual oil and diesel into San Juan from

          Aruba.   Coastal also  had storage capacity.   CAPECO  feared, so

          Coastal's theory  went, that  this would  allow  the refinery  in

          Aruba to compete  with CAPECO  and threaten  CAPECO's ability  to

          sell  its targeted  10,000 barrels  of  residual oil  per day  to

          dealers.    Coastal's  argument  is  that  CAPECO,  fearing  that


                                         -28-
                                         -28-














          Coastal's  affiliate posed a competitive threat, decided to drive

          Coastal  out  by  (1) engaging  in  price  discrimination against

          Coastal, (2) discriminating in the provision of residual oil, (3)

          discriminating in the quality of the residual  oil available, and

          (4) threatening to  cut off plaintiff entirely,  eventually doing

          so.

                    Coastal  successfully  argued  to  the  jury  that  the

          relevant geographic market was San  Juan Harbor, since neither it

          nor  its competitors,  Caribbean  and  Harbor, could  practicably

          obtain supplies in San Juan Harbor from anyone other than CAPECO.

          Coastal produced  evidence that CAPECO  made 90% of the  sales of

          bunker  fuel to  resellers in the  San Juan Harbor  market -- and

          CAPECO does not dispute this figure on appeal.

                    CAPECO's main argument regarding monopoly power is that

          the  choice  of  San  Juan  Harbor as  the  relevant  market  was

          incorrect.  Instead, it maintains that because the broader market

          for bunker fuel  among cruise ships and other  vessels plying the

          waters  of the  Caribbean  and  the  southeastern  United  States

          constrains the  prices CAPECO  can charge  resellers in  San Juan

          Harbor, the proper geographic market should have been  defined to

          include a much  wider area.  A larger geographic  market would of

          course lead to a lower figure for the percentage of sales  in the

          market made  by CAPECO, likely defeating the monopoly power prong

          of the monopolization offense.

                    In  assessing CAPECO's argument,  we must bear  in mind

          that "market definition is a  question of fact" and "we therefore


                                         -29-
                                         -29-














          must affirm the jury's conclusion  unless the record is devoid of

          evidence   upon  which  the   jury  might  reasonably   base  its

          conclusion."  Weiss v. York Hospital, 745 F.2d 786, 825  (3d Cir.
                        _____    _____________

          1984);  see also  Rebel Oil  Co., 51  F.3d at 1435  (stating that
                  ________  ______________

          standard   upon    motion   for   directed    verdict,   judgment

          notwithstanding the verdict, and summary judgment is "whether the

          jury, drawing  all inferences  in favor of  the nonmoving  party,

          could reasonably render a verdict in favor of the nonmoving party

          in  light of  the substantive law")  (citing Anderson  v. Liberty
                                                       ________     _______

          Lobby, Inc., 477 U.S. 242, 249-52 (1986)).
          ___________

                    In  order to  show  that  CAPECO  had  monopoly  power,

          Coastal was required  to show that  CAPECO had sufficient  market

          power  to raise  price by  restricting  output.   IIA Phillip  E.

          Areeda et al., Antitrust Law   501 (1995).  "[S]ubstantial market
                         _____________

          power that concerns antitrust  law arises when the  defendant (1)

          can profitably  set prices  well above its  costs and  (2) enjoys

          some protection against [a] rival's entry or expansion that would

          erode  such supracompetitive  prices and profits."   Id.   Market
                                                               ___

          power can  be shown through two types of  proof.  A plaintiff can

          either  show direct evidence of market  power (perhaps by showing

          actual  supracompetitive   prices  and   restricted  output)   or

          circumstantial evidence of market power.   Rebel Oil Co., Inc. v.
                                                     ___________________

          Atlantic Richfield  Co., 51  F.3d 1421,  1434  (9th Cir.),  cert.
          _______________________                                     _____

          denied,  116 S.  Ct.  515 (1995).   Market  power  may be  proved
          ______

          circumstantially by  showing that  the defendant  has a  dominant

          share  in  a well-defined  relevant  market  and that  there  are


                                         -30-
                                         -30-














          significant barriers  to entry in  that market and  that existing

          competitors lack  the capacity to  increase their  output in  the

          short  run.    Id.    Coastal's  evidence  at  trial  was of  the
                         ___

          circumstantial  type and  thus  the  question  the  parties  have

          presented  on  appeal  is  whether  Coastal  supplied  sufficient

          evidence for  that CAPECO  had a dominant  share in  the relevant

          market.

                    Before determining market share, however, the  relevant

          geographic  market must be  defined.11  Although,  "[f]inding the

          relevant market  and its structure is not a  goal in itself but a

          surrogate of market power," see Areeda, supra,    531a, "[m]arket
                                      ___         _____

          definition  is  crucial."    Rebel  Oil Co.,  51  F.3d  at  1434.
                                       ______________

          "Without a definition of the relevant market, it is impossible to

          determine market share."   Id.  Proving market  definition is the
                                     ___

          plaintiff's burden.  See H.J., Inc.  v. Int'l Tel. &amp; Tel.  Corp.,
                               ___ __________     ________________________

          867 F.2d 1531 (8th Cir.  1989) ("The plaintiff carries the burden

          of describing a well-defined relevant market, both geographically

          and by product,  which the defendants monopolized.");  Neumann v.
                                                                 _______

          Reinforced Earth  Co., 786 F.2d  424 (D.C. Cir.)  ("The plaintiff
          _____________________

          bears  the burden of  establishing the relevant  market."), cert.
                                                                      _____

          denied, 107  S. Ct. 181 (1986);  M.A.P. Oil Co., Inc.  v. Texaco,
          ______                           ____________________     _______

          Inc., 691 F.2d 1303, 1306 (9th Cir. 1982) ("the proponent of [the
          ____

          monopolization]  theory must  identify the  relevant product  and
                              
          ____________________

          11  The  plaintiff must also define the  relevant product market.
          H.J., Inc.  v. Int'l Tel. &amp; Tel. Corp.,  867 F.2d 1531, 1537 (8th
          __________     _______________________
          Cir. 1989).   The parties agree that the  relevant product market
          is residual  fuel oil  sold by all  refineries for use  as bunker
          fuel for ocean-going vessels.

                                         -31-
                                         -31-














          geographic  markets  as  a  threshold  requirement").    Although

          Coastal  has properly  pointed  out that  the question  of market

          definition is one of fact for the jury, a plaintiff  must present

          sufficient evidence from which a  reasonable jury could find  the

          existence of the proposed relevant market.  Cf.
                                                      ___

          Flegel  v. Christian Hosp.  Northeast-Northwest, 4 F.3d  682 (8th
          ______     ____________________________________

          Cir. 1993) (affirming  grant of summary judgment on  grounds that

          there was insufficient evidence  to support plaintiffs'  proposed

          market definition).

                    A market may be any grouping of sales whose sellers, if

          unified  by a  hypothetical cartel  or  merger, could  profitably

          raise  prices significantly above the  competitive level.  If the

          sales  of  other  producers  substantially  constrain  the price-

          increasing ability of  the hypothetical cartel, these  others are

          part of the  market.  Areeda, supra,    533b; see also  Rebel Oil
                                        _____           ________  _________

          Co., 51 F.3d  at 1434 (relying on Professor  Areeda's formulation
          ___

          of  the  test for  the  relevant  market).   "The  definition  of

          relevant market depends  upon economic  restraints which  prevent

          sellers from  raising prices  above competitive  levels."   H.J.,
                                                                      _____

          Inc., 867 F.2d at 1537.
          ____

                    Coastal  and  CAPECO   have  presented  two   competing

          conceptions of the relevant market.  Coastal argues, and the jury

          found,12 that the relevant market was the market for residual oil
                              
          ____________________

          12  The  jury answered "yes" to the  special interrogatory asking
          "Did Coastal establish that there is a relevant market comprising
          of the  sale  of  residual fuel  oil  or diesel  to  bunker  fuel
          resellers in the  port of San Juan  and that CAPECO  has monopoly
          power in the relevant market?"

                                         -32-
                                         -32-














          for bunker  fuel in  San Juan.   Coastal presented  evidence that

          resellers in San  Juan (Harbor, Caribbean and  Coastal) purchased

          90% of their  supplies for bunker  fuel from CAPECO.   CAPECO, in

          contrast,  has  argued  that  the  relevant  market  is  broader,

          consisting of all  sales of residual oil  for bunker fuel in  the

          Caribbean  and  Southeastern United  States.   Our review  of the

          issue leads us to  conclude that it would  be unreasonable for  a

          juror  to infer  from the  evidence presented  that the  sales of

          residual  oil for  bunker  fuel  outside of  San  Juan should  be

          excluded from the relevant market.

                    The  residual oil CAPECO  sells is blended  with diesel

          into bunker fuel  and sold by resellers like  Coastal, Harbor and

          Caribbean  to large ocean-going  vessels.  Residual  oil refiners

          and  bunker fuel  resellers exist  throughout  the Caribbean  and

          Southeastern United States.   The parties  agree that the  ocean-

          going vessels can choose to  refuel from whatever supplier in the

          Caribbean and Southeastern United States offers the best terms as

          to price, quality and dependability.   The market for bunker fuel

          is  therefore extremely  fluid and  competitive,  as the  parties

          agree.

                    Coastal  argues  that,  because  of  this  competition,

          margins  for  resellers  are  razor  thin  and  it  is  virtually

          impossible for  a reseller in  San Juan, like Coastal,  to obtain

          residual  oil  from  anyone  other  than  CAPECO.    Transporting

          supplies from other  refineries, such as the refinery  Coastal is

          affiliated with in  Aruba, would increase the cost of the fuel to


                                         -33-
                                         -33-














          such an extent (transportation costs, import taxes, risk of price

          changes, and storage costs) that it is not an economically viable

          alternative.  (Of course, this is, it might be observed, somewhat

          inconsistent with  the theory  that CAPECO was  so afraid  of the

          'threat' from  Coastal and  its Aruba  affiliate,  that it  drove

          Coastal  out   of  business.)     Consequently,  Coastal  argues,

          resellers of bunker  fuel must purchase from CAPECO  when they do

          business in San Juan.  In Coastal's view, the San Juan resellers'

          inability to purchase  from suppliers outside  of San Juan  makes

          San Juan the relevant market.

                    We  do not agree.  The  touchstone of market definition

          is whether  a hypothetical  monopolist could  raise prices.   See
                                                                        ___

          Rebel Oil Co., 51 F.3d at 1434.  Although a reseller based in San
          _____________

          Juan  may have nowhere else to turn  to in San Juan for its fuel,

          Coastal  did  not  produce sufficient  evidence  that  this meant

          CAPECO has the ability to restrict supply and raise prices in San

          Juan to supracompetitive levels.   Indeed, the evidence points in

          the other  direction.   CAPECO cannot sell  its residual  oil for

          bunker fuel  unless it does so at a  price at which the resellers

          will  be able  to sell  the fuel to  its ultimate  consumers, the

          ocean-going vessels.   Those ocean-going vessels can  go anywhere

          in the  Caribbean  and Southeastern  United States  to get  their

          bunker  fuel.   If  CAPECO  were  to  raise  its  prices  to  the

          resellers, the resellers  could not offer the bunker  fuel to the

          ocean-going  vessels  at competitive  prices and  the ocean-going

          vessels would simply get their fuel at another port.


                                         -34-
                                         -34-














                    Given these facts, the immobility of the resellers does

          not mean  that CAPECO could  maximize profits  by raising  prices

          significantly above the competitive level.  Raising prices in San

          Juan  would repel the  ultimate consumers,  who would  seek other

          suppliers.  The  resellers would either stop  purchasing residual

          fuel or  cease business,  or both.   CAPECO would  then lose  its

          ability  to sell its residual oil for  bunker fuel and this would

          redound to the benefit of CAPECO's competitors.  While under most

          circumstances  the  immobility  of  the  resellers  would  be  of

          considerable  importance  in  defining the  market,  it  does not

          control  here  where  the  mobility  of  the  ultimate  consumers

          protects  the immobile resellers.   Cf. Ball Memorial Hosp., Inc.
                                              ___ _________________________

          v.  Mutual  Hosp. Ins.,  Inc.,  784  F.2d  1325 (7th  Cir.  1986)
              _________________________

          (Easterbrook,   J.)  (relevant  market  for  purposes  of  health

          insurance  coverage  to  Indiana   consumers  was  "regional   or

          national" not simply Indiana, even though Indiana consumers could

          not  get insurance  from any  source other  than defendant  doing

          business in  Indiana; the  mobility  of potential  rivals to  the

          defendant protected the consumers whose mobility was restricted).

          Under the circumstances here,  defining the market as San Juan is

          too narrow.  It does not capture the likelihood of expanded sales

          by CAPECO's rivals in the event that CAPECO were  to raise prices

          in San Juan.

                    Once  the relevant  market  is  defined  to  include  a

          geographic region larger  than San Juan (i.e., the  Caribbean and
                                                   ____

          Southeastern United States), Coastal has not satisfied its burden


                                         -35-
                                         -35-














          of  showing that  CAPECO  had  a dominant  market  share.   While

          Coastal might, at least in theory, have shown that all refineries

          throughout  the  Caribbean  and the  Southeastern  United  States

          behaved like  a cartel and  priced their residual oil  to capture

          the transportation  and other costs  of getting oil  from sources

          outside the  local ports,  it has  not done  so here  and it  has

          failed  to produce evidence  sufficient for a  reasonable jury to

          infer that such  was the case.   In short, Coastal has  not shown

          that CAPECO  had monopoly  power over the  relevant market.   Cf.
                                                                        ___

          Zoslaw  v. MCA  Distrib. Corp.,  693 F.2d  870, 886-87  (9th Cir.
          ______     ___________________

          1982) (secondary-line price  discrimination under Robinson-Patman

          Act does not  necessarily violate Sherman Act), cert. denied, 103
                                                          ____________

          S. Ct. 1777 (1983).  Accordingly, Coastal's monopolization claims

          fail  under  both section  2  of the  Sherman  Act and  Title 10,

          Section  260  of the  Laws  of  Puerto Rico  and  we reverse  the

          monopolization  verdicts.   We note  that  because we  affirm the

          price discrimination verdict, the  reversal on the monopolization

          theory, by  itself, leaves    unchanged the  amount of  antitrust

          damages  awarded, subject to our discussion on damage evidentiary

          sufficiency in Part I.D., infra.
                                    _____














                                         -36-
                                         -36-














                               C.  Puerto Rico Law Tort
                               C.  Puerto Rico Law Tort

                    CAPECO also challenges the  judgment on Coastal's claim

          under 31 L.P.R.A.  5141 ("Article 1802").13   CAPECO claims  that

          Coastal  was required  to  allege  and prove  the  elements of  a

          recognized  tort, and  failed to  do  so.   According to  CAPECO,

          because the Supreme Court of Puerto Rico has recently declined to

          rule that violation of an antitrust statute will also necessarily

          give  rise to a  violation of Article  1802, the  violation of an

          antitrust statute  does not give  rise to a  per se violation  of
                                                       ___ __

          Article 1802.   See Pressure Vessels of Puerto Rico,  94 JTS 144,
                          ___ _______________________________

          *438-39.   Additionally, CAPECO challenges the sufficiency of the

          evidence supporting the judgment on  this issue.  CAPECO asks for

          a reversal of the verdict on these grounds.

                    CAPECO's  arguments may well  have merit.   However, we

          need  express no opinion  regarding CAPECO's arguments  as CAPECO

          waived them  by  failing  to  object  to  the  jury  instructions

          regarding the  Article 1802  claim.  See  Linn v.  Andover Newton
                                               ___  ____     ______________

          Theological School, Inc., 874  F.2d 1, 5.   These are not  simply
          ________________________

          technical  requirements.    By  failing to  object  to  the  jury

          instructions,  CAPECO denied "the judge an opportunity to correct

          his  error," assuming that CAPECO  rightly contends that an error

                              
          ____________________

          13  Article 1802 states, in pertinent part, that:

                      [a]  person who  by  an  act or  omission
                      causes damage to another through fault or
                      negligence shall be obliged to repair the
                      damage so done.

          Id.
          ___

                                         -37-
                                         -37-














          was made.  Id.  While CAPECO may correctly contend that antitrust
                     ___

          violations  do not  fall within  the scope  of Article  1802, the

          district court's jury  instructions were not strictly  limited to

          antitrust  offenses.    It  is  entirely  possible that,  had  an

          objection been  made, the district  court could have  charged the

          jury with antitrust offenses as an Article 1802 ground separately

          from  other Article  1802 grounds  that may  have applied  in the

          present case.  For example,  it could have charged the jury  with

          tortious interference  with contractual  relations, since  CAPECO

          may well have intentionally complicated, via its refusal to deal,

          Coastal's efforts to meet its obligations to deliver bunker fuel.

          See General Office Products Corp. v. A.M. Capen's Sons, Inc., 780
          ___ _____________________________    _______________________

          F.2d 1077, 1081 (1st Cir. 1986)  (noting that even in the absence

          of  a contract,  liability may  be incurred under  other judicial

          principles) (citing General Office Products Corp. v. A.M. Capen's
                              _____________________________    ____________

          Sons,  Inc.,  No. 0-84-278,  Trans.  Op.  at  6-7 (P.R.  June 29,
          ___________

          1984)).   By failing to  object to the instructions  in question,

          CAPECO has deprived us  of factual findings that would aid in the

          resolution of  these issues.   Because of  the generality  of the

          instruction,  we  conclude  that  evidence  existed  of  CAPECO's

          possibly tortious conduct  sufficient for the jury  to reasonably

          reach the verdict that it did.

                    CAPECO also challenges the  sufficiency of the evidence

          supporting the Article 1802 findings.  However, CAPECO has waived

          review here  of this argument too by failing  to move at any time

          for a judgment  as a matter of  law on this ground  under Fed. R.


                                         -38-
                                         -38-














          Civ.  P. 50(a),  see Wells  Real Estate,  Inc. v.  Greater Lowell
                           ___ _________________________     ______________

          Board  of   Realtors,  850  F.2d   803,  810   (1st  Cir.   1988)
          ____________________

          ("[a]ppellate review may  be obtained only on the specific ground

          stated in the motion for directed verdict").14

                    As  a  result  of  CAPECO's  failure  to  preserve  its

          arguments for  review on  appeal, we affirm  the judgment  on the

          Article 1802 claim.

                          D.  Sufficient Evidence on Damages
                          D.  Sufficient Evidence on Damages

                    CAPECO also  argues that Coastal's evidence  on damages

          was  inadequate as  a matter  of law,  and therefore,  the jury's

          verdict  on damages  must  be reversed.    In particular,  CAPECO

          argues that, as a new market entrant, Coastal was required to use

          the "yardstick" method of estimating damages.

                    With respect  to the  issue of  how accurately  damages

          must  be  measured, "there  is  a clear  distinction  between the

          [relatively high] measure of proof necessary to establish that [a

          plaintiff] has  sustained some  damage and  the [relatively  low]

          measure of proof necessary to enable the jury to fix the amount."

          Story Parchment  Co. v.  Paterson Parchment  Paper Co.,  282 U.S.
          ____________________     _____________________________

          555, 562 (1931).  In  the antitrust context, "the most elementary

          conceptions  of  justice  and  public  policy  require  that  the

          wrongdoer shall  bear the risk  of the uncertainty which  his own

                              
          ____________________

          14   In 1991, Rule  50 was amended,  and the term  "judgment as a
          matter of  law" was adopted  "to refer  to preverdict"  (directed
          verdict) and "postverdict" (judgment notwithstanding the verdict)
          "motions  with a  terminology that  does not  conceal  the common
          identity  of  two   motions  made  at  different   times  in  the
          proceeding."  See Fed. R. Civ. P. 50 advisory committee's note.
                        ___

                                         -39-
                                         -39-














          wrong has created."  Bigelow v. RKO Radio Pictures, 327 U.S. 251,
                               _______    __________________

          256  (1946).   Nonetheless,  the  plaintiff  must  still  produce

          evidence  from which  the jury  can  make a  just and  reasonable

          inference.   Wells Real Estate,  Inc. v. Greater Lowell  Board of
                       ________________________    ________________________

          Realtors, 850  F.2d 803, 816  (1st Cir.), cert. denied,  488 U.S.
          ________                                  ____________

          955 (1988).

                    Citing Home Placement Service v. The Providence Journal
                           ______________________    ______________________

          Co., 819  F.2d 1199 (1st  Cir. 1987), CAPECO argues  that Coastal
          ___

          was  required to  use the yardstick  method for  calculating lost

          profits, rather than the "before-and-after" method.  Id. at 1205-
                                                               ___

          06.   Under  the  yardstick approach,  the plaintiff  attempts to

          identify a  firm similar to the plaintiff in all respects but for

          the impact of  the antitrust violation.  Hovenkamp    17.6b2.  By

          contrast, under the "before-and-after" method, the court looks at

          the plaintiff's  business before  the violation occurred,  during

          the   violation  period,  and  after  the  violation  ended,  and

          estimates  the  amount   by  which  the  violation   reduced  the

          plaintiff's profits.  Id.   17.6b1.
                                ___

                    We conclude  that whether  a yardstick  record must  be

          used ultimately  requires an appraisal  of the  reliability of  a

          firm's track record,  and the length of that track  record is one

          factor to consider.  The plaintiff in Home Placement Services had
                                                _______________________

          operated  as planned  only weeks  before  the alleged  violations

          began.  Home Placement Services can best be read as demonstrating
                  _______________________

          both  the  type of  situation  in  which  a yardstick  method  is

          preferable,  and  the  factors  that should  go  into  a  court's


                                         -40-
                                         -40-














          evaluation of  the comparability of  the yardstick firm  or firms

          with the plaintiff.15

                    Ultimately, the  proper method should be  determined by

          the district court in accord with the facts of the situation.  In

          this case, the district court will have exactly that opportunity,

          since  we  must vacate  the  district court's  damages  award and

          remand for further  proceedings.  The district court  charged the

          jury  with  an  instruction  to find  an  amount  for  "antitrust

          damages,"  comprising awards  for both  price discrimination  and

          monopolization claims.16   Because we reverse  the monopolization

          verdict, if  left to stand,  the jury's  antitrust damages  award

          would likely constitute an excessive  recovery.  In coming to its

          conclusion, the jury may well  have weighed harms resulting  from

          conduct  that  was  pleaded with  respect  to  the monopolization

          offense (e.g. refusal  to deal with a customer,  lying, etc.) but
                   ____

          would   have  been  additional  to  harms  resulting  from  price

          discrimination, the  claim we  uphold.   Furthermore, were  we to
                              
          ____________________

          15   We  note in  passing  that the  plaintiff-appellant in  Home
                                                                       ____
          Placement  Services was challenging the district court's award of
          ___________________
          nominal damages and instead  sought damages based on  a yardstick
          analysis;  the appeals court  upheld the nominal  damages finding
          because the evidence was "not 'sufficient to get the Court beyond
          the  guessing  stage.'"   Id.  at 1209  (quoting  William Goldman
                                    ___                     _______________
          Theatres, Inc. v.  Loew's, Inc., 69 F.  Supp. 103, 106 (E.D.  Pa.
          ______________     ____________
          1946), aff'd, 164  F.2d 1021, 1022 (3d Cir.  1947), cert. denied,
                 _____                                        ____________
          334 U.S. 811 (1948)).

          16   We understand the  difficult choice that the  district court
          faced.   As a  practical matter,  it would  be difficult,  if not
          impossible, for a  juror to segregate antitrust damages  due to a
          monopolization   offense   but   not   due   to   illegal   price
          discrimination  from   antitrust  damages   due  only  to   price
          discrimination, where as here, the  facts and conduct involved in
          both allegations greatly overlap.  

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          allow  the  verdict   to  stand  despite  our   reversal  of  the

          monopolization verdict,  there would exist the  strong likelihood

          that the jury  had granted Coastal  a duplicative recovery  under

          monopolization  and  tort  law,  for injury  caused  by  the same

          conduct, such as  refusal to  deal and  lying.   The law  "abhors

          duplicative recoveries."   Dopp v.  HTP Corp., 947 F.2d  506, 517
                                     ____     _________

          (1st  Cir. 1991) (vacating damage award for, among other reasons,

          "a  strong  likelihood  that  the  remedies  thus  far  conferred

          overlap").  Thus,  we find that the district  court's award rests

          on an error  of law.  See  Adams v. Zimmerman, No.  94-2161, slip
                                ___  _____    _________

          op. at  17, ___ F.3d  ___, ___, (1st  Cir. 1996) (stating  that a

          "district court's award  is reviewed for  an abuse of  discretion

          unless it  relies on  an erroneous legal  determination").   As a

          result, we must vacate the antitrust damage award of $4.5 million

          ($1.5 million trebled), and remand for further proceedings.

                            II.  Arguments for a New Trial
                            II.  Arguments for a New Trial

                    In  addition to  its  arguments  for  reversal  of  the

          district  court's  findings, CAPECO  makes several  arguments for

          reversal of the district court's  denial of its motion for a  new

          trial.

                    "The authority to  grant a new trial . .  . is confided

          almost entirely to the exercise of discretion on the  part of the

          trial court."   Allied Chem. Corp. v. Daiflon, Inc., 449 U.S. 33,
                          __________________    _____________

          36 (1980), cited in Wells Real Estate, Inc. v. Greater Lowell Bd.
                     ________ _______________________    __________________

          of Realtors,  850 F.2d 803, 810 (1st Cir.  1988).  "Only abuse of
          ___________

          discretion will trigger  reversal of a denial of a motion for new


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          trial."  Vel zquez  v. Figueroa-G mez, 996 F.2d  425, 427 (1993).
                   _________     ______________

          In reviewing for  abuse of discretion, we must bear  in mind that

          the  trial court's discretion is quite limited concerning motions

          for new trials.  "A trial judge may not upset the  jury's verdict

          merely   because  he   or  she   would  have  decided   the  case

          differently."  Id.
                         ___

                               A.  Duplicative Judgment
                               A.  Duplicative Judgment

                    In  support of  its  request for  a  new trial,  CAPECO

          argues  that  the  damages awards  constituted  an  impermissible

          double recovery.   CAPECO contends that both  Coastal's antitrust

          and tort claims were grounded in  the same set of acts.   Because

          we  vacate and remand the  antitrust damages for further findings

          on price  discrimination damages, we  construe CAPECO's  argument

          that price  discrimination  and  tort  damages  would  constitute

          duplicative damage recoveries,   see Borden  v. Paul Revere  Life
                                           ___ ______     _________________

          Ins. Co., 935 F.2d 370, 382 (1st  Cir. 1991) ("recovery against a
          ________

          defendant  under  one  tort   theory  precludes  any  duplicative

          recovery for the same damages under some other tort theory"), and

          so a new trial or remittitur is required, see Dopp v.  HTP Corp.,
                                                    ___ ____     _________

          947 F.2d 506, 516 (1st Cir. 1991).

                    We  reject this  argument for  three  reasons.   First,

          CAPECO failed  to object to  the form or  content of  the special

          interrogatories to which the  jury answered.  Second, CAPECO  may

          well have  waived its right  to raise  this issue here,  since it

          failed to  raise the  issue  in a  timely manner  with the  trial

          court.  Previously, we have held  that a defendant may not  argue


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          verdict inconsistency  if he or  she failed to object  "after the

          verdict  was read  and  before  the jury  was  discharged."   See
                                                                        ___

          McIsaac v. Didriksen  Fishing Corp., 809 F.2d 129,  134 (1st Cir.
          _______    ________________________

          1987).  This  rule is grounded in the realization that "to decide

          otherwise   would   countenance    'agreeable   acquiescence   to

          perceivable  error  as a  weapon  of appellate  advocacy.'"   Id.
                                                                        ___

          (quoting Merchant  v. Ruhle,  740 F.2d 86,  92 (1st  Cir. 1984)).
                   ________     _____

          The same  concern should make  us hesitate to  consider arguments

          about verdict redundancy that were similarly not put forth below.

                    Finally, "[a] special  verdict will be upheld  if there

          is a view of the case which makes the jury's answers consistent."

          McIsaac, 809 F.2d  at 133.  As  we have noted above,  Coastal may
          _______

          have had a  legitimate Article 1802 claim apart  from any overlap

          with antitrust law.  Had CAPECO chosen to object to  the district

          court's  instructions, the district court may have corrected this

          problem.  Accordingly,  giving the district court the  benefit of

          the doubt, had  it responded to a timely  objection by CAPECO and

          given  an  Article 1802  instruction  that did  not  overlap with

          antitrust  claims,  the  jury's  damages  verdicts  on  tort  and

          antitrust  claims could  have been  consistent.   Even  assuming,

          arguendo,   that  CAPECO  correctly  asserts  that  such  overlap
          ________

          occurred,  to grant  CAPECO  a new  trial  now  on the  basis  of

          duplicative recovery  would allow it  to avoid the result  of its

          own failure to object to the Article 1802 instruction.

                                 B.  CAPECO's Experts
                                 B.  CAPECO's Experts




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                                         -44-














                    Additionally, CAPECO  argues that the  district court's

          refusal to allow its two experts, Dr. Jorge Freyre ("Dr. Freyre")

          and  Dr. El as Guti rrez ("Dr.  Guti rrez"), to testify was based

          on a fundamental error of law and was an abuse of discretion that

          requires  that we  reverse the  district  court and  order a  new

          trial.

                    In  order  to evaluate  CAPECO's  contentions, we  must

          review the district court's orders leading up to the exclusion of

          the  relevant  testimony.   The  district court's  June  22, 1993

          Scheduling Order  stated that  "[t]he parties  will announce  the

          names and  qualifications of their  experts by October  1, 1993."

          This  date was  modified subsequently  to December  1, 1993.   In

          compliance  with   this  order,  CAPECO   named  C sar   Figueroa

          ("Figueroa")    and    Rafael    Mart nez-Margarida   ("Mart nez-

          Margarida").   On March  1, 1994,  pursuant to  a  motion by  new

          counsel for Caribbean,  the district court modified  the previous

          order and issued a revised  scheduling order stating "all experts

          are to be announced by March 30," and also specifying that expert

          reports to be used "during each party's case-in-chief" were to be

          exchanged on June 3, 1994,  and that expert rebuttal reports were

          to be exchanged  on July 1, 1994.   Upon CAPECO's June  1 motion,

          the date for reports to be exchanged was extended  by an "Omnibus

          Order" to  ten days after service of that order, dated August 15,

          1994.   On August  29, 1994, Coastal  delivered to  CAPECO expert

          reports  prepared by  Dr. Sherwin  and  Dr. Zalacain, and  CAPECO

          provided  Coastal with  an expert  report  prepared by  Figueroa.


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          These  experts were deposed between September 9 and September 14,

          and  thereafter  CAPECO  retained  experts  Dr.  Freyre  and  Dr.

          Guti rrez ostensibly as  rebuttal witnesses under Fed. R. Civ. P.

          26(a)(2)(C).  CAPECO informed Coastal on September 20, 1994, that

          it had retained  Dr. Freyre as a rebuttal  witness, and similarly

          informed Coastal  of Dr. Guti rrez  on or about October  4, 1994.

          CAPECO informed  the  district court  about  Dr. Freyre  and  Dr.

          Guti rrez on October 5, 1995.

                    The  district  court   instructed  CAPECO  to   produce

          Dr. Freyre  and Dr.  Guti rrez  and to  make  them available  for

          depositions.  On  October 5 and October 6,  Coastal filed motions

          in limine to  exclude Dr. Freyre and Dr. Guti rrez, respectively,

          on   the  theory   that  neither   witness   could  properly   be

          characterized as  a "rebuttal" witness within the meaning of Rule

          26(a)(2)(C), and thus both should have been disclosed previously.

          After  oral argument, the district court granted Coastal's motion

          and excluded the testimony of  Dr. Freyre and Dr. Guti rrez.  The

          district court, upon  CAPECO's admission that  it planned to  use

          Dr. Freyre  and Dr. Guti rrez  in its  case-in-chief, noted  that

          "you got a problem  with my orders because you  have not complied

          with my orders  insofar as Freyre and Guti rrez [are] concerned,"

          apparently referring  to the  previous scheduling order  deadline

          for experts in the case-in-chief to be disclosed.

                    CAPECO  argues (1) that  because the Omnibus  Order did

          not  provide  a deadline  for  the  exchange  of rebuttal  expert

          reports,   no  scheduling  order   applied,  and   therefore  the


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                                         -46-














          disclosure of Dr. Freyre and Dr. Guti rrez was controlled by Rule

          26(a)(2)(C);17  and (2) that the district court misconstrued Rule

          26(a)(2)(C) to signify that a defendant cannot offer testimony to

          "contradict  or  rebut"  under  Rule 26(a)(2)(C).    We  need not

          consider whether  the district  court in  fact misconstrued  Rule

          26(a)(2)(C),  because,  for three  reasons, we  find no  abuse of

          discretion  in its  exclusion  of  these  witnesses  as  rebuttal

          witnesses.  First, at no time  did CAPECO ever seek leave of  the

          court  to  announce  the  names  of  experts  not  disclosed   by

          December 1, 1993, as  originally required, or by  March 30, 1994,

          as  permitted by  the  trial court.   CAPECO's  motion of  June 1

          sought extension  principally  due to  alleged noncooperation  by

          Coastal  in discovery, making CAPECO's experts' task difficult to

          complete by the deadline then in effect.  We cannot  conclude, as

          CAPECO  does, that  the Omnibus  Order's  extension rendered  all

          other  orders unbinding.   Because  CAPECO  did not  ask for  its

          extension on the grounds it  now argues, the district court could

          not  have  had  such an  effect  in  mind, nor  was  it  given an

          opportunity to consider such effect.   A trial court may "readily

          exclude a  witness or exhibit  if some previous  order had set  a

          deadline  for  identification and  the  proponent [has],  without

          adequate excuse, failed  to list the witness or  exhibit."  Fusco
                                                                      _____

                              
          ____________________

          17    Rule  26's   schedule  concerning  the  duty   to  disclose
          information concerning expert witnesses and their opinions may be
          altered by  the court.  See Fed.  R. Civ. P. 26(a)(2)(C) (setting
                                  ___
          forth  schedule of  disclosure  of  expert  testimony  "[i]n  the
          absence of other directions from  the court or stipulation by the
          parties").

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                                         -47-














          v. General  Motors Corp., 11 F.3d  259, 265 (1st  Cir. 1993); see
             _____________________                                      ___

          also Freund  v. Fleetwood  Enter., Inc., 956  F.2d 354  (1st Cir.
          ____ ______     _______________________

          1992).

                    Additionally, we cannot agree that the district court's

          March 1, 1994, Scheduling Order was necessarily superceded, given

          that  that order  scheduled trial  for October  24, 1994,  and in

          fact, trial began on  that date.  The  proximity in time  between

          CAPECO's attempts  to bring in  Dr. Freyre and Dr.  Guti rrez and

          actual trial casts doubt on  any argument that CAPECO was somehow

          misled  into thinking  that previous  Scheduling  Orders did  not

          apply.   Finally, even assuming  that CAPECO is correct  that the

          Scheduling Order's  provisions regarding  rebuttal witnesses  had

          been superceded and  thus Rule 26(a)(2)(B) applied,  the district

          court  might still have enforced its previous deadlines regarding

          experts in the case-in-chief.  For  better or for worse, at  oral

          argument  on October  21, 1994  (three days  before trial  was to

          start),   counsel  for  CAPECO  identified  Dr.  Freyre  and  Dr.

          Guti rrez as witnesses in its case-in-chief.18

                    Given  the circumstances, we  cannot conclude  that the

          exclusion of the testimony of Dr. Freyre and Dr. Guti rrez was an

          abuse of discretion warranting a new trial.

                       C.  CAPECO's Meeting Competition Defense
                       C.  CAPECO's Meeting Competition Defense


                              
          ____________________

          18  At  one point in the  oral argument over Coastal's  motion in
          limine to exclude  Dr. Freyre and Dr. Guti rrez,  the court asked
          "And  when are  you  going to  bring  them?"   To  this question,
          counsel  for CAPECO  directly  responded, "We  are  going to  use
          [them] in our case [in] chief."

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                                         -48-














                    CAPECO  also argues that the district court should have

          given jury  instructions on  the affirmative  defense of  meeting

          competition.   Section  2(b) of  Clayton Act,  as amended  by the

          Robinson-Patman Act, permits a defendant  to rebut a prima  facie
                                                               _____  _____

          case of violation  by showing that its  lower price "was made  in

          good faith to  meet an equally  low price of  a competitor."   15

          U.S.C.    13(b).  The "meeting competition" defense can be raised

          only  by a defendant  who responds in good  faith to the believed

          lower  price of  a competitor.   United  States v.  United States
                                           ______________     _____________

          Gypsum Co.,  438 U.S. 422  (1978), appeal after remand,  600 F.2d
          __________                         ___________________

          414 (3d Cir. 1979), cert. denied, 444 U.S. 884 (1979).
                              ____________

                    We need not consider CAPECO's argument that it believed

          in  good faith  that it  was responding  to a  competitive threat

          posed by Coastal in combination  with its parent CFMI, because we

          conclude that even  assuming that Coastal and CFMI  were a single

          entity, they do not constitute  a competitor in the same specific

          area as CAPECO, see Falls City, 460 U.S.  at 448.  In Falls City,
                          ___ __________                        __________

          the  Supreme Court concluded  that Congress intended  the meeting

          competition  defense "to allow reasonable pricing responses on an

          area-specific  basis  where   competitive  circumstances  warrant

          them."   Id. at 448.   Here, the district court  could reasonably
                   ___

          conclude  that the defense did not  apply, since there was a lack

          of  evidence, beyond CAPECO's own employees' testimony about what

          they believed to  be the case, that CFMI offered  lower prices on

          bunker fuel in San Juan than CAPECO.  See Rose  Confections, Inc.
                                                ___ _______________________

          v. Ambrosia Chocolate  Co., 816 F.2d 381, 391-93  (8th Cir. 1987)
             _______________________


                                         -49-
                                         -49-














          (ruling  defense rejected where  seller relied on  "assumption or

          speculation" without  verification that competitor's  prices were

          in fact lower).  Therefore, we do not find abuse of discretion in

          the district court's denial of a  new trial based on its  refusal

          to issue a jury instruction on the meeting competition defense.

                    D.  CAPECO's Puerto Rico Law Tort Counterclaim
                    D.  CAPECO's Puerto Rico Law Tort Counterclaim

                    CAPECO  contends  that  the  district  court  erred  in

          dismissing its counterclaim grounded in Article 1802, 31 L.P.R.A.

            5141.  According  to CAPECO, it  was a compulsory  counterclaim

          and was thus  not barred by the one year  statute of limitations,

          at least to the extent of defeating the main claim.

                    We reject CAPECO's argument for two reasons.  First, in

          opposition  to Coastal's  motion  for  summary  judgment  on  the

          counterclaim,  it failed  to  inform the  district  court of  the

          theory  it  now  advances,  that  it is  entitled  to  recoupment

          notwithstanding the  statute of  limitations.   Additionally, the

          gist of CAPECO's counterclaim argument  was that the threat posed

          by Coastal and CFMI allegedly working in concert forced CAPECO to

          give Harbor  and  Caribbean discounts,  costing CAPECO  potential

          profits.  Given that we  uphold the district court's finding that

          these  discounts were illegal price discrimination, it appears at

          least doubtful under Puerto Rico  law that CAPECO can collect for

          any lost profits thereby incurred.  See, e.g., Rubio-Sacarello v.
                                              ___  ____  _______________

          Roig,  84 D.P.R.  344, 351  (P.R. 1962)  (stating, in  a contract
          ____

          context, that  one who  is guilty of  illegality cannot  bring an

          action).  As a result, we fail to find abuse of discretion by the


                                         -50-
                                         -50-














          district court  in its decision not to grant  a new trial on this

          basis.

                                      CONCLUSION
                                      CONCLUSION
                                      __________

                    Coastal   succeeded  below   on  three   claims:  price

          discrimination, monopolization  and  tort.   CAPECO's failure  to

          make the points below that it now argues on appeal hamstrung  its

          attempt to obtain  reversal of the price discrimination  and tort

          claims.  But  the definition of relevant  market Coastal espoused

          could  not  be  reasonably  adopted  by  the  jury,  since   this

          definition  was legally insufficient in neglecting to account for

          downstream constraints on  the proposed monopoly, and  in failing

          to draw on  sufficient evidence regarding those constraints.

                    For the foregoing reasons, the judgment of the district

          court is affirmed in part, reversed in part, and remanded.
                   ________________  ________________      ________


























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